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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

AL-RASHAAD R. CRAFT,

           Plaintiff,

v.                                                                               No. 17-cv-0469 JCH/SMV

CITY OF HOBBS POLICE DEPARTMENT,
CHRIS MCCALL, CITY OF HOBBS,
BOARD OF COMMISSIONERS OF THE
CITY OF HOBBS, SAM COBB, JJ MURPHY,
JOHN DOES I–X, JANE DOES I–X,
BLACK AND WHITE ENTITIES I–X,
CHAD WRIGHT, AHMAD WHITE, and
THE CITY COMMISSION OF THE CITY OF HOBBS,

           Defendants.1

                         ORDER SETTING SETTLEMENT CONFERENCE

           THIS MATTER is before the Court pursuant to a telephonic status conference held on

April 26, 2019. To facilitate a final disposition of this case, a mandatory Settlement Conference

will be conducted in accordance with Rule 16(a)(5) of the Federal Rules of Civil Procedure. The

conference will be held on June 21, 2019, at 9:30 a.m. in a courtroom to-be-determined at the

United States Courthouse at 500 N. Richardson, Roswell, New Mexico.

           The parties or a designated representative, other than counsel of record, with final

settlement authority, must attend in person. Counsel who will try the case must also attend in

person. Those attending the settlement conference must treat as confidential the information

discussed, positions taken, and offers made by other participants in preparation for and during the



1
    Per Plaintiffs’ Fourth Amended Complaint, only Defendants Wright and White remain. See [Doc. 38].
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conference.2 See generally Hand v. Walnut Valley Sailing Club, No. 11-3228, 2012 WL 1111137

(10th Cir. Apr. 2, 2012) (unpublished) (affirming dismissal of case as sanction for violating

confidentiality of settlement conference). Counsel shall advise their clients regarding appropriate

attire for appearance in federal court.

         No later than June 4, 2019, Plaintiff3 shall serve on Defendant a letter setting forth at least

the following information: (a) a brief summary of the evidence and legal principles that Plaintiff

assert will allow it to establish liability; (b) a brief explanation of why damages or other relief

would be warranted; (c) an itemization of the principles supporting those damages; and (d) a

settlement demand.

         No later than June 11, 2019, Defendant shall serve on Plaintiff a letter that sets forth at

least the following information: (a) any points in Plaintiff’s letter with which the defense agrees;

(b) any points in Plaintiff’s letter with which the defense disagrees, with references to supporting

evidence and legal principles; and (c) a counteroffer.4 If a release is contemplated, defense counsel

shall include a proposed form of release with the letter.

         Each of these letters typically should be five pages or fewer, and counsel must ensure that

each party reads the opposing party’s letter before the Settlement Conference. If the case does not

settle, Plaintiff shall provide copies of these letters to the Court no later than 12:00 p.m. on

June 14, 2019. Otherwise, the letters will be kept confidential.


2
  This does not prohibit disclosures stipulated to by the parties, necessary in proceedings to determine the existence
of a binding settlement agreement, or as otherwise required by law.
3
  Herein, the terms “Plaintiff” and “Defendant” encompass both singular and plural meanings.
4
   If the parties have engaged in settlement negotiations, Plaintiff’s demand should be lower than Plaintiff’s most
recent demand, and Defendant’s counteroffer should be higher than Defendant’s most recent counteroffer.

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        It has been the Court’s experience that disagreement over special damages—e.g., past

medical expenses, lost wages, property damages—often presents an obstacle to settlement.

Therefore, if Plaintiff is claiming special damages, Plaintiff’s letter must itemize such special

damages and state the exact dollar amount Plaintiff is claiming for each category. If Defendant

disagrees with the amount of special damages listed in Plaintiff’s letter, Defendant’s letter must

state the exact dollar amount Defendant believes to be correct for each category. In other words,

if Plaintiff claims $1,000 in lost wages, and Defendant believes the correct amount of lost wages

is $500, Defendant’s letter must clearly state that Plaintiff’s lost wages amount to $500. It is

insufficient simply to say, “Defendant disagrees that Plaintiff has $1,000 in lost wages.” If there

is a dispute over any item of special damages, counsel will be required to do two things. First,

lead trial counsel for Plaintiff and lead trial counsel for Defendant must meet (in person or

telephonically) prior to the settlement conference to try to resolve the dispute. Counsel are

specifically instructed to talk to each other; an exchange of emails or correspondence is

insufficient. Second, if the dispute cannot be resolved, lead trial counsel for Plaintiff and lead trial

counsel for Defendant will each bring with them to the settlement conference all documentation

supporting their position on special damages and will be prepared to personally argue their

position. This duty cannot be delegated to an associate, a party representative, or an insurance

representative. The Court will expect each lead trial counsel to be prepared to present his or her

case on special damages.

        No later than 12:00 p.m. on June 14, 2019, each party must provide the Court, in

confidence, a concise position statement (typically no more than ten pages) containing an analysis

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of the strengths and weaknesses of its case and the names of the individuals who will be attending

the conference and in what capacity. Position statements must be submitted to the Court by e-mail

at VidmarChambers@nmd.uscourts.gov.5

        Furthermore, if any party has in its possession any video or audio recording of the incident

upon which this action is based, that party must submit a copy of the recording to the Court no

later than 12:00 p.m. on June 14, 2019.

        The Settlement Conference will not be vacated or rescheduled except upon motion and for

good cause shown. Any motion to vacate or reschedule the Settlement Conference shall provide

the Court with sufficient notice to ensure that other matters may be scheduled in the time allotted

for the Settlement Conference.

        The Court may contact counsel ex parte prior to the Settlement Conference to discuss the

Settlement Conference.

        IT IS THEREFORE ORDERED as follows:

Plaintiff’s letter and settlement demand
due to Defendant:                                               June 4, 2019

Defendant’s letter and counteroffer
due to Plaintiff:                                               June 11, 2019

Plaintiff provides copies of settlement letters
to the Court by:                                                12:00 p.m. on June 14, 2019

Parties’ confidential position statements
due to the Court:                                               12:00 p.m. on June 14, 2019




5
   Each e-mail message and its attachments cannot exceed 5 MB. Data exceeding 5 MB should be submitted in
individual e-mail messages, each less than 5 MB.
                                                   4
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Settlement Conference:                        June 21, 2019, at 9:30 a.m.

      IT IS SO ORDERED.


                                              ______________________________
                                              STEPHAN M. VIDMAR
                                              United States Magistrate Judge




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